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Exhibit A
Case 3:15-cv-01172-CAB-BLM Document 1-2 Filed 05/26/15 PageID.8 Page 2 of 4



     Nathan A. Searles (SBN 234315)
 1   NASearles@portfoliorecovery.com
 2   Portfolio Recovery Associates
     140 Corporate Boulevard
 3   Norfolk, VA 23502
     Tel: (757) 519-9300, Ext 13206
 4   Fax: (757) 321-2518
 5   Attorney for Defendant
     Portfolio Recovery Associates, LLC
 6

 7                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
 8                                     COUNTY OF SAN DIEGO
 9

10   SHARON I. MUNSON,                                    Case No. 37-2015-00013128-CL-NP-NC
11
                   Plaintiff,
12
            v.                                            NOTICE TO STATE COURT AND
13                                                        ADVERSE PARTY OF REMOVAL OF
     PORTFOLIO RECOVERY                                   ACTION FROM STATE COURT TO
14   ASSOCIATES, LLC,                                     UNITED STATES DISTRICT COURT
15                                                        FOR THE SOUTHERN DISTRICT OF
                   Defendant.                             CALIFORNIA
16
                                                          Complaint Filed: April 21, 2015
17                                                        Trial Date:      None Set
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        NOTICE TO STATE COURT AND ADVERSE PARTY OF REMOVAL OF ACTION FROM STATE COURT TO UNITED STATES
                             DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA
Case 3:15-cv-01172-CAB-BLM Document 1-2 Filed 05/26/15 PageID.9 Page 3 of 4




 1

 2          PLEASE TAKE NOTICE THAT on May 26, 2015, Defendant Portfolio Recovery

 3   Associates, LLC (“PRA”) filed a Notice of Removal to remove this action to the United States

 4   District Court for the Southern District of California. In compliance with 28 U.S.C. § 1446(d), a

 5   copy of the Notice of Removal is attached as Exhibit 1 to this Notice and is served and filed

 6   herewith.

 7          PLEASE TAKE FURTHER NOTICE THAT, pursuant to 28 U.S.C. § 1446(d), the filing

 8   of this Notice removes this action and stays all proceedings in connection therewith in the San

 9   Diego County Superior Court unless and until this action is remanded.

10
     DATED: May 26, 2015
11

12
                                              By:    /s/ Nathan A. Searles
13                                                  Nathan A. Searles
14
                                                    Attorney for Defendant
15                                                  Portfolio Recovery Associates, LLC

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        NOTICE TO STATE COURT AND ADVERSE PARTY OF REMOVAL OF ACTION FROM STATE COURT TO UNITED STATES
                             DISTRICT COURT FOR THE SOUTHERN DISTRICT OF CALIFORNIA
Case 3:15-cv-01172-CAB-BLM Document 1-2 Filed 05/26/15 PageID.10 Page 4 of 4



                                          PROOF OF SERVICE
 1

 2         I am over the age of 18 and not a party to this action. My business address is: 140
     Corporate Boulevard, Norfolk, Virginia 23502.
 3
            On May 26, 2015, I served true copies of the following document(s), with all exhibits and
 4   attachments (if any):
 5
                    (1) Notice To State Court and Adverse Party of Removal of Action From State
 6                      Court to United States District Court for the Northern District of
                        California
 7

 8           by placing the document(s) listed above in a sealed envelope with postage thereon fully
              prepaid, in the United States mail at Norfolk, Virginia, addressed as set forth below.
 9

10
            Conrad F. Joyner, Jr., Esquire
11          P.O. Box 425
            San Luis Rey, CA 92068
12

13           I am readily familiar with the company’s practice of collection and processing
     correspondence for mailing. Under that practice, it would be deposited with the U.S. Postal
14
     Service on that same day with postage thereon fully prepaid in the ordinary course of business. I
15   am aware that on motion of the party served, service is presumed invalid if postal cancellation date
     or postage date is more than one day after date of deposit for mailing in affidavit.
16
             I declare that I am employed in the office of a member of the Bar of this Court at whose
17   direction the service was made and declare under penalty of perjury under the laws of the State of
     California that the foregoing is true and correct.
18
19          Executed on May 26, 2015, at Norfolk, Virginia.

20

21

22                                                /s/ Sonia L. Gomez____________________
                                                  Sonia L. Gomez, Litigation Paralegal
23                                                Portfolio Recovery Associates

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        NOTICE TO STATE COURT AND ADVERSE PARTY OF REMOVAL OF ACTION FROM STATE COURT TO UNITED STATES
                             DISTRICT COURT FOR THE SOUTHERN DISTRICT OF CALIFORNIA
